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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 NATIONAL ASSOCIATION FOR GUN RIGHTS, and                   )
 SUSAN KAREN GOLDMAN,                                       )
                                                            )
         Plaintiffs,                                        )     Case No. 22-cv-04774
                                                            )
 v.                                                         )
                                                            )
                                                            )
 CITY OF HIGHLAND PARK, ILLINOIS,
                                                            )
                                                            )
         Defendant.

                        MOTION FOR PRELIMINARY INJUNCTION

        Plaintiffs submit the following Motion for Preliminary Injunction against the City of

Highland Park, Illinois (the “City”).

        Certification: The summons and complaint in this matter were served on the defendant

on September 9, 2022. Dkt. 3. On September 20, 2022, the undersigned counsel (Craddock)

spoke to Steve Elrod, counsel for defendant, about this Motion. The undersigned also has had

email correspondence with David Hoffman, also counsel for defendant, regarding this Motion.

                                        INTRODUCTION

        This action challenges the constitutionality of certain provisions of the Highland Park

City Code of 1968 (the “Code”). A copy of the relevant portion of the Code is attached to the

Complaint as Exhibit A. The Code bans (1) certain semi-automatic firearms that are held by

millions of law-abiding American citizens for lawful purposes and (2) certain firearm magazines

that are held by millions of law-abiding American citizens for lawful purposes. The Second

Amendment protects the right of law-abiding citizens to own weapons in common use by law-

abiding citizens for lawful purposes. D.C. v. Heller, 554 U.S. 570, 627 (2008). Thus, these

provisions of the Code are unconstitutional. Accordingly, Plaintiffs hereby move the Court to
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enter a preliminary injunction enjoining the City from enforcing these unconstitutional provisions

of the Code.

                                                      FACTS

1.         Section 136.001 of the Code defines the term “assault weapon.” The term “assault

weapon” as used in the Code is not a technical term used in the firearms industry or community

for firearms commonly available to civilians. Brown Dec. ¶ 2. Instead, the term is a rhetorically

charged political term1 meant to stir the emotions of the public against those persons who choose

to exercise their constitutional right to possess certain semi-automatic firearms that are commonly

owned by millions of law-abiding American citizens for lawful purposes. Id. Plaintiffs refuse to

adopt the City’s politically charged rhetoric in this Complaint. Therefore, for purposes of this

Complaint, the term “Banned Firearm” shall have the same meaning as the term “assault weapon”

in Section 136.001of the Code.

2.         Section 136.001 of the Code defines the term “large-capacity magazine” to mean any

firearm magazine capable of holding more than ten rounds of ammunition. The Code again uses

politically charged rhetoric to describe the arms it bans. Brown Dec. ¶ 3. The Code’s

characterization of these magazines as “large capacity” is a misnomer. Id. Magazines capable of

holding more than 10 rounds are standard capacity magazines. Id Plaintiffs refuse to adopt the

City’s politically charged rhetoric in this Complaint. Therefore, for purposes of this Complaint,

the term “Banned Magazine” shall have the same meaning as the term “large-capacity magazine”

in Section 136.001 of the Code.

3.         Section 136.005 of the Code states in relevant part:

           No person shall manufacture, sell, offer or display for sale, give, lend, transfer
           ownership of, acquire or possess any Assault Weapon or Large Capacity Magazine
           ...
1
    See Stenberg v. Carhart, 530 U.S. 914, 1001 n.16 (2000) (Thomas, J., dissenting).
                                                          2
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4.     Plaintiff Susan Karen Goldman and NAGR’s members on whose behalf this action is

brought are residents of the City and law-abiding citizens of the United States. Goldman Dec. ¶ 2;

Brown Dec. ¶ 4. They are otherwise eligible under the laws of the United States and the City to

receive and possess firearms and magazines, including the Banned Firearms and Banned

Magazines. Id. They intend to and, but for the credible threat of prosecution under the Code,

would acquire Banned Firearms and Banned Magazines to keep in their homes for self- defense

and for other lawful purposes. Goldman Dec. ¶¶ 5-7; Brown Dec. ¶ 4.

5.     Specifically, Plaintiff Goldman currently owns a Banned Firearm, and intends to purchase

Banned Magazines, both of which are putatively made illegal by Highland Park Code Chapter

136. She has lawfully owned this Banned Firearm for years but stores it outside of Highland Park

city limits because she fears prosecution under the Ordinance. Goldman Dec. ¶¶ 5-7.

6.     She desires to continue possessing her lawfully owned firearm and ammunition described

above, and to acquire additional arms and ammunition putatively made illegal by the Code, and

lawfully transfer property to others within the city limits. Id.

7.     But for the City’s restrictions on commonly used arms, and Plaintiff Goldman’s

reasonable fear of criminal prosecution for violating these restrictions, she would continue to

possess her lawfully owned firearm and ammunition, acquire additional arms and ammunition,

and/or transfer them to others. Id.

8.     Plaintiff Goldman is especially irreparably harmed because the City’s prohibitions require

her to store her firearm outside the city limits, which renders it useless for the defense of her

home and person, especially in light of incidents such as the recent July 4, 2022 shooting which

occurred within Highland Park city limits leaving seven (7) dead and more than two (2) dozen

injured.

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9.      At least 20 million semi-automatic firearms such as those defined as “assault weapons”

are owned by millions of American citizens who use those firearms for lawful purposes.

Declaration of James Curcuruto ¶ 6. Mr. Curcuruto’s declaration was originally submitted in

Rocky Mountain Gun Owners, et al. v. Town of Superior, 22-CV-1685-RM. It is used with

permission in this action.

10.     At least 150 million magazines with a capacity greater than ten rounds are owned by law-

abiding American citizens, who use those magazines for lawful purposes. Declaration of James

Curcuruto ¶ 7.

               STANDARD FOR GRANTING PRELIMINARY INJUNCTION

        To be entitled to preliminary relief, Plaintiffs must establish that (1) they are likely to

succeed on the merits; (2) they are likely to suffer irreparable harm in the absence of preliminary

relief; (3) the balance of the equities tips in their favor; and (4) that an injunction is in the public

interest. Higher Soc’y of Indiana v. Tippecanoe Cnty., Indiana, 858 F.3d 1113, 1116 (7th Cir.

2017), citing Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). In a case involving an

alleged violation of a constitutional right, the likelihood of success on the merits will often be the

determinative factor. Id., citing Am. Civil Liberties Union of Ill. v. Alvarez, 679 F.3d 583, 589

(7th Cir. 2012).2 That is because even short deprivations of constitutional rights constitute

irreparable harm, and the balance of harms normally favors granting preliminary injunctive relief

because the public interest is not harmed by preliminarily enjoining the enforcement of a statute

that is probably unconstitutional. Id. So “the analysis begins and ends with the likelihood of

success on the merits” of the constitutional claim. Id., citing Korte v. Sebelius, 735 F.3d 654, 666



2
  Higher Soc’y of Indiana was a First Amendment case, but that difference does not matter, because in Bruen,
infra, the Supreme Court held that Second Amendment rights should be protected in the same way First
Amendment rights are protected. Id., 142 S. Ct. at 2130.
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(7th Cir. 2013). In Ezell v. City of Chicago, 651 F.3d 684, 997 (7th Cir. 2011), the Court equated

the standard for obtaining a preliminary injunction in the Second Amendment context with the

standard for obtaining that relief in a First Amendment case.

           THE GOVERNMENT BEARS THE BURDEN OF DEMONSTRATION

         In New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111 (2022), the Supreme

Court unambiguously placed on the government a substantial burden of demonstrating that any

law seeking to regulate firearms is consistent with this Nation’s historical tradition of firearm

regulation.3 Specifically, the Court stated:

         “To support that [its claim that its regulation is permitted by the Second
         Amendment], the burden falls on [the government] to show that New York’s
         proper-cause requirement is consistent with this Nation’s historical tradition of
         firearm regulation. Only if respondents carry that burden can they show that the
         pre-existing right codified in the Second Amendment, and made applicable to the
         States through the Fourteenth, does not protect petitioners’ proposed course of
         conduct.”

Bruen, 142 S. Ct. at 2135.
         In this case, the Second Amendment’s plain text covers Plaintiffs’ conduct in seeking to

acquire bearable arms. Bruen, 142 S. Ct. at 2132 (“the Second Amendment extends, prima facie,

to all instruments that constitute bearable arms”).                     Accordingly, Plaintiff’s conduct is

presumptively protected by the Second Amendment. Bruen, 142 S. Ct. at 2126 (“when the

Second Amendment’s plain text covers an individual’s conduct, the Constitution presumptively

protects that conduct”). The government may attempt to rebut that presumption by demonstrating

that its law is consistent with this Nation’s historical tradition of firearm regulation. If the




3
 “Significantly, the plaintiff need not demonstrate the absence of regulation in order to prevail; the burden rests
squarely on the government to establish that the activity has been subject to some measure of regulation.”
Friedman v. City of Highland Park, Illinois, 784 F.3d 406, 415 (7th Cir. 2015) (Manion, J., dissenting).
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government attempts to meet that burden in its response, Plaintiff will have an opportunity to

submit rebuttal evidence in its reply.

                                         ARGUMENT

I.     The Supreme Court has Reaffirmed the Heller Standard

       A.      A Regulation Burdening the Right to Keep and Bear Arms is
               Unconstitutional Unless it is Consistent with the Text of the Second
               Amendment and the Nation’s History and Traditions

       In Bruen, the Court rejected the two-part balancing test for Second Amendment

challenges that several courts of appeal adopted in the wake of Heller and McDonald v. City of

Chicago, Ill., 561 U.S. 742 (2010). Instead, it reiterated the Heller standard, which it summarized

as follows:

       “Today, we decline to adopt that two-part approach. In keeping with Heller, we
       hold that when the Second Amendment’s plain text covers an individual’s conduct,
       the Constitution presumptively protects that conduct. To justify its regulation, the
       government may not simply posit that the regulation promotes an important
       interest. Rather, the government must demonstrate that the regulation is consistent
       with this Nation’s historical tradition of firearm regulation. Only if a firearm
       regulation is consistent with this Nation’s historical tradition may a court conclude
       that the individual’s conduct falls outside the Second Amendment’s unqualified
       command.”

Bruen, 142 S. Ct. at 2126 (internal quotation marks omitted).

       The Bruen court spent significant time describing how lower courts are to proceed in

Second Amendment cases. As particularly relevant here, Bruen described the proper analysis of

the term “arms.” That word, Bruen affirmed, has a “historically fixed meaning” but one that

“applies to new circumstances.” Id. at 2132. It thus “covers modern instruments that facilitate

armed self-defense.” Id., citing Caetano v. Massachusetts, 577 U.S. 411, 411—412 (2016) (per

curiam) (stun guns). Accordingly, the text of the Second Amendment “extends, prima facie, to




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all instruments that constitute bearable arms, even those that were not in existence at the time of

the founding.” Id.

        The Court then explained that “[m]uch like we use history to determine which modern

‘arms’ are protected by the Second Amendment, so too does history guide our consideration of

modern regulations that were unimaginable at the founding.” Id. In considering history, courts

are to engage in “reasoning by analogy.” Id. This analogical reasoning requires the government

to identify a well-established and representative historical analogue to the challenged regulation.

Id. at 2133. But to be a genuine “analogue,” the historical tradition of regulation identified by the

government must be “relevantly similar” to the restriction before the Court today. Id. at 2132.

Two metrics are particularly salient in determining if a historical regulation is relevantly similar:

[1] how and [2] why the regulations burden a law-abiding citizen’s right to armed self-defense.

Id. at 2133. By considering these two metrics, a court can determine if the government has

demonstrated that a modern-day regulation is analogous enough to historical precursors that the

regulation may be upheld as consistent with the Second Amendment’s text and history. Id.

        As noted above, the Court held that the judicial balancing of means and ends pursuant to

intermediate scrutiny review plays no part in Second Amendment analysis. “Heller does not

support applying means-end scrutiny.” Id., 142 S. Ct. at 2127; see also Id., 142 S. Ct. at 2129

(inquiry into the Code’s alleged “salutary effects” upon “important governmental interests” is not

part of the test).

        B.       Only “Dangerous and Unusual Arms” Can be Banned Consistent with Our
                 History and Tradition

        This case involves a blanket prohibition on two classes of arms. Both Bruen and Heller

identified only one aspect of the nation’s history and tradition that is sufficiently analogous to –

and therefore capable of justifying – such a ban: the tradition, dating back to the Founding, of

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restricting “dangerous and unusual weapons” that are not “in common use at the time.” Bruen,

142 S. Ct. at 2128. By contrast, where a type of arm is in common use, there is, by definition, no

historical tradition of banning it. Thus, for the type of restriction at issue in this case, the Court

has already analyzed the relevant historical tradition and established its scope: “dangerous and

unusual” weapons may be subject to a blanket ban, but arms “in common use at the time” may

not be. Id.

        The Heller test is based on historical practice and “the historical understanding of the

scope of the right,” but with reference to modern realities of firearm ownership. Heller, 554 U.S.

at 625; see also Bruen, 142 S. Ct. at 2131 (“The test that we set forth in Heller and apply today

requires courts to assess whether modern firearms regulations are consistent with the Second

Amendment’s text and historical understanding.”); Rocky Mountain Gun Owners v. Town of

Superior, Colo., 1:22- cv-01685, Doc. 18 at 9 (July 22, 2022) (granting, post-Bruen, a temporary

restraining order against enforcement of a ban on certain semiautomatic rifles and noting “the

Court is unaware of historical precedent that would permit a governmental entity to entirely ban

a type of weapon that is commonly used by law-abiding citizens for lawful purposes”). In

summary, in the context of blanket bans on bearable arms, the Supreme Court has already done

the historical spadework, and the only restrictions of this kind that it has deemed consistent with

the historical understanding of the right to keep and bear arms are restrictions limited to

dangerous and unusual arms that are not in common use.

        This Court’s task is therefore a simple one: it merely must determine whether the banned

arms are “dangerous and unusual.” Importantly, this is a “conjunctive test: A weapon may not

be banned unless it is both dangerous and unusual.” Caetano, 577 U.S. at 417 (Alito, J.,

concurring). An arm that is in common use for lawful purposes is, by definition, not unusual.


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Such an arm therefore cannot be both dangerous and unusual and therefore cannot be the

subjected to a blanket ban. Bruen, 142 S. Ct. at 2143; Heller, 554 U.S. at 629.

        To determine whether an arm is “unusual” the Supreme Court has likewise made clear

that the Second Amendment focuses on the practices of the American people nationwide, not

just, say, in this State. See id. at 2131 (“It is this balance – struck by the traditions of the American

people – that demands our unqualified deference.”); Heller, 554 U.S. at 628 (handguns are

“overwhelmingly chosen by American society” for self-defense); Caetano, 577 U.S. at 420

(Alito, J., concurring) (“stun guns are widely owned and accepted as a legitimate means of self-

defense across the country”). Therefore, the Second Amendment protects those who live in states

or localities with a less robust practice of protecting the right to keep and bear firearms from

outlier legislation (like the City’s ban here) just as much as it protects those who live in

jurisdictions that have hewed more closely to America’s traditions.

        Furthermore, courts and legislatures do not have the authority to second-guess the choices

made by law-abiding citizens by questioning whether they really “need” the arms that ordinary

citizens have chosen to possess. While Heller noted several reasons that a citizen may prefer a

handgun for home defense, the Court held that “[w]hatever the reason, handguns are the most

popular weapon chosen by Americans for self-defense in the home, and a complete prohibition

of their use is invalid.” Id., 554 U.S. at 629.      The Court reaffirmed that the traditions of the

American people, which includes their choice of preferred firearms, demand the courts’

“unqualified deference.” Id., 142 S. Ct. at 2131.

        As set forth below, the Banned Firearms and the Banned Magazines are “typically

possessed by law-abiding citizens for lawful purposes.” Under Heller and Bruen, that is the

end of the analysis. The Second Amendment “[does] not countenance a complete prohibition


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on the use of the most popular weapon chosen by Americans for self-defense in the home.” Id.,

142 S. Ct. at 2128 (internal quotation marks omitted).

         Finally, the Second Amendment inquiry focuses on the choices commonly made by

contemporary law-abiding citizens. Heller rejected as “bordering on the frivolous” “the argument

. . . that only those arms in existence in the 18th century are protected,” Id. at 582. And in Caetano,

the Supreme Court reiterated this point, holding that arms protected by the Second Amendment

need not have been in existence at the time of the Founding. 577 U.S. 411-12, quoting Heller,

554 U.S. at 582. The Caetano Court flatly denied that a particular type of firearm’s being “a

thoroughly modern invention” is relevant to determining whether the Second Amendment

protects it. Id. And Bruen cements the point. Responding to laws that allegedly restricted the

carrying of handguns during the colonial period, the Court reasoned that “even if these colonial

laws prohibited the carrying of handguns because they were considered ‘dangerous and unusual

weapons’ in the 1690s, they provide no justification for laws restricting the public carry of

weapons that are unquestionably in common use today.” Bruen, 142 S. Ct. at 2143.

II.      The Seventh Circuit’s Decision in Friedman is no Longer Good Law

         In Friedman v. City of Highland Park, Illinois, 784 F.3d 406 (7th Cir. 2015), the Seventh

Circuit upheld as constitutional the ordinance provisions challenged in this action, and normally

that case would preclude this challenge. However, “[s]tare decisis cannot justify adherence to an

approach that Supreme Court precedent forecloses.” Fed. Trade Comm’n v. Credit Bureau Ctr.,

LLC, 937 F.3d 764, 767 (7th Cir. 2019). And Bruen flatly forecloses the approach taken by the

Court in Friedman. See also United States v. Wahi, 850 F.3d 296, 302 (7th Cir. 2017) (“When

an intervening Supreme Court decision unsettles [the Seventh Circuit’s] precedent, it is the ruling

of the [Supreme] Court that . . . must carry the day.”).


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       In Friedman the Court announced a unique three-part test to determine Second

Amendment questions. Under this test, a court asks: “whether a regulation [1] bans weapons

that were common at the time of ratification or [2] those that have ‘some reasonable relationship

to the preservation or efficiency of a well regulated militia . . . and [3] whether law-abiding

citizens retain adequate means of self-defense.” Id., 784 F.3d at 410. All three legs of this test

are foreclosed by subsequent Supreme Court precedent:

       [1] The Second Amendment’s “reference to ‘arms’ does not apply only to those arms in

existence in the 18th century.” Bruen, 142 S. Ct. at 2132 (cleaned up). See also Caetano v.

Massachusetts, 577 U.S. 411, 411–12 (2016) (per curiam) (same).

       [2] The Second Amendment’s operative clause “does not depend on service in the

militia.” Bruen, 142 S. Ct. at 2127. Even the dissent in Bruen admitted that under the majority’s

holding the scope of the right to bear arms has “nothing whatever to do with service in a militia.”

Bruen, 142 S. Ct. at 2177-78 (Breyer, J. dissenting).

       [3] “[T]he right to bear other weapons is ‘no answer’ to a ban on the possession of

protected arms.” Caetano, 577 U.S. at 421 (Alito, J., concurring), quoting Heller, 554 U.S. at

629.

       Bruen makes it clear that Judge Manion was correct in his dissent in Friedman when he

wrote that two of the three aspects of the majority’s test were foreclosed by Heller. Friedman,

784 F.3d at 413 (Manion J. dissenting). And the third aspect was foreclosed by Caetano.

       But there are more problems with Friedman. Not only is its three-part test no longer

viable, but other central parts of its holding are inconsistent with Bruen. First, the Friedman

Court based its decision in large part on its view of the benefits of the ordinance. Id., 784 F.3d

at 411-12 (reviewing the benefits of the ordinance, including the fact that the ban on arms reduced

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“perceived risk” and “makes the public feel safer”). But, as discussed supra, Bruen emphatically

rejected exactly this sort of means-end scrutiny. Id., 142 S. Ct. at 2127; see also Id., 142 S. Ct.

at 2129 (inquiry into the Code’s alleged “salutary effects” upon “important governmental

interests” is not part of the test). Second, the Friedman court held that categorical bans on kinds

of weapons may be proper even if the limits did not “mirror restrictions that were on the books

in 1791.” Id., 784 F.3d 410. This holding is contradicted by the central thrust of Bruen’s holding

that a restriction on Second Amendment rights will survive scrutiny only if “the government

identif[ies] a well-established and representative historical analogue” to the regulation. Id. 142

S. Ct. 2133.

          In summary, for many reasons it is not possible to square subsequent Supreme Court

precedent with the Seventh Circuit’s holding in Friedman. Accordingly, that case is no longer

binding precedent,, and in rendering is decision on this motion, this Court must reject the Seventh

Circuit’s Friedman analysis in favor of the Supreme Court’s Bruen analysis.

III.      The City’s Prohibition on Possession of Banned Firearms is Unconstitutional

          A.     Introduction

          Under Bruen, “when the Second Amendment’s plain text covers an individual’s conduct,

the Constitution presumptively protects that conduct. Bruen, 142 S. Ct. at 2126. To justify its

regulation, the government . . . must demonstrate that the regulation is consistent with this

Nation’s historical tradition of firearm regulation.” Id. Here, the Second Amendment’s plain text

covers the Banned Firearms, so it falls to the City to attempt to justify its law as consistent with

historical tradition rooted in the Founding. It cannot possibly do so, because the Banned Firearms

are commonly possessed by law abiding citizens, and Bruen has already established that, by

definition, there cannot be a tradition of banning an arm if it is commonly possessed.


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       B.      The Banned Firearms are in Common Use

       This case thus reduces to the following, straightforward inquiry: are the arms banned by

the City in “common use,” according to the lawful choices by contemporary Americans? They

unquestionably are. There is no class of firearms known as “assault weapon.” “Prior to 1989, the

term ‘assault weapon’ did not exist in the lexicon of firearms. It is a political term, developed by

anti-gun publicists . . .” Stenberg v. Carhart, 530 U.S. 914, 1001 (2000) at n. 16 (Thomas, J.,

dissenting). But while “assault weapon” is not a recognized category of firearms, “semiautomatic

rifle” is. And it is semiautomatic rifles that the City’s “assault weapon” ban targets. The

“automatic” part of “semiautomatic” refers to the fact that the user need not manually load

another round in the chamber after each round is fired. But unlike an automatic rifle, a

semiautomatic rifle will not fire continuously on one pull of its trigger; rather, a semiautomatic

rifle requires the user to pull the trigger each time he or she wants to discharge a round. See

Staples v. United States, 511 U.S. 600, 602 (1994) at n. 1.

       There is therefore a significant practical difference between a truly automatic and a merely

semiautomatic rifle. According to the United States Army, for example, the maximum effective

rates of fire for various M4- and M16-series firearms is between forty-five and sixty-five rounds

per minute in semiautomatic mode, versus 150-200 rounds per minute in automatic mode. Dept.

of the Army, RIFLE MARKSMANSHIP: ML6-/M4-SERIES WEAPONS, 2-1 tbl. 2-1 (2008),

available at https://bit.ly/3pvS3SW.

       There is a venerable tradition in this country of lawful private ownership of semiautomatic

rifles. The Supreme Court has held as much. In Staples, it concluded that semiautomatics, unlike

machine guns, “traditionally have been widely accepted as lawful possessions.” Staples, 511 U.S.

at 612. Semiautomatic rifles have been commercially available for over a century. See Heller v.


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District of Columbia (“Heller II”), 670 F.3d 1244, 1287 (D.C. Cir. 2011) (Kavanaugh, J.,

dissenting); David B. Kopel, Rational Basis Analysis of “Assault Weapon” Prohibition, 20 J.

CONTMP. L. 381, 413 (1994).

        In contrast to this long history of legal ownership of semi-automatic rifles, the first

“assault weapon” ban was not enacted until California did so in 1989, a full 200 years after the

Constitution became effective. Obviously, that is far too late to demonstrate anything about the

original meaning of the Second or Fourteenth Amendment, no matter which is the relevant

historical reference point. Bruen, 142 S.Ct. at 2126 (cautioning against giving post enactment

history more weight than it can rightly bear). Even today, the vast majority of states (42 out of

50)4, do not ban semiautomatic weapons that would be deemed “assault weapons” under the Code

at issue in this action.5

        Thus, there is no historical tradition of banning semi-automatic firearms. This is borne

out by the fact that millions of law-abiding citizens choose to possess firearms in that category.

Duncan v. Becerra (“Duncan IV”), 970 F.3d 1133, 1147 (9th Cir. 2020) (“Commonality is

determined largely by statistics.”); Ass’n of N.J Rifle & Pistol Clubs, Inc. v. Att’y Gen., 910 F.3d

106, 116 (3d Cir. 2018) (finding an arm is commonly owned because the record shows that

“millions” are owned); New York State Rifle & Pistol Ass ‘n, Inc. v. Cuomo, 804 F.3d 242, 255

(2d Cir. 2015) (“Even accepting the most conservative estimates cited by the parties and by amici,

the assault weapons at issue are ‘in common use’ as that term was used in Heller.”); Heller II,



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  The federal government banned semi-automatic rifles from 1994 to 2004 when Congress allowed that law after
the Justice Department concluded that it produced “no discernible reduction” in gun violence. Christopher S.
Koper, Assessing the Potential to Reduce Deaths and Injuries from Mass Shootings Through Restrictions on
Assault Weapons and Other High-Capacity Semiautomatic Firearms, 19 Crim’y & Pub. Pol’y 96 (2020).
5
  The bans and the year each was enacted are: CAL. PENAL CODE §§ 30600, 30605 (1989); N.J. STAT. §§ 2C:39-
5(f), 2C:39-9(g) (1990); HAW. REV. STAT. § 134-8(a) (1992); CONN. GEN. STAT. § 53-202c (1993); MD. CODE
ANN., CRIM. LAW §§ 4-301, 4-303 (1994); MASS. GEN. LAWS ch. 140, § 131M (1994); N.Y. PENAL
LAW §§ 265.02(7), 265.10(1)-(3) (2000); 11 DEL. CODE § 1466 (2022).
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670 F.3d at 1261 (“We think it clear enough in the record that semi-automatic rifles . . . are indeed

in ‘common use.’”).

        The AR-15 is America’s “most popular semi-automatic rifle,” Heller II, 670 F.3d at 1287

(Kavanaugh, J., dissenting), and in recent years it has been “the best-selling rifle type in the

United States,” Nicholas J. Johnson, Supply Restrictions at the Margins of Heller and the

Abortion Analogue, 60 HASTINGS L.J. 1285, 1296 (2009); see also Duncan v. Becerra (“Duncan

III”), 366 F. Supp. 3d 1131, 1145 (S.D. Cal. 2019).

        This issue was addressed in Kolbe v. Hogan, 849 F.3d 114 (4th Cir. 2017), abrogated by

Bruen, supra. In his dissent (which, after Bruen, likely represents the correct interpretation of

the law), Judge Traxler stated:

        “It is beyond any reasonable dispute from the record before us that a statistically
        significant number of American citizens possess semiautomatic rifles (and
        magazines holding more than 10 rounds) for lawful purposes. Between 1990 and
        2012, more than 8 million AR- and AK- platform semiautomatic rifles alone were
        manufactured in or imported into the United States. In 2012, semiautomatic
        sporting rifles accounted for twenty percent of all retail firearms sales. In fact, in
        2012, the number of AR- and AK- style weapons manufactured and imported into
        the United States was more than double the number of the most commonly sold
        vehicle in the U.S., the Ford F-150. In terms of absolute numbers, these statistics
        lead to the unavoidable conclusion that popular semiautomatic rifles such as the
        AR-15 are commonly possessed by American citizens for lawful purposes within
        the meaning of Heller.”
Id., 849 F.3d at 153, Traxler, J. dissenting (internal citations and quotation marks omitted).

        Today, the number of AR-rifles and other modern sporting rifles in circulation in the

United States exceeds twenty-four million. The Firearms Industry Trade Ass’n, Commonly

Owned: NSSF Announces Over 24 Million MSRS in Circulation, (July 20, 2022), available at

https://bit.ly/3pUj8So.6


6
  See also Declaration of James Curcuruto ¶ 6 (“At least 20 million semi-automatic firearms such as those defined
as “assault weapons” are owned by millions of American citizens who use those firearms for lawful purposes.”
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         According to industry sources, as of 2018, roughly thirty-five percent of all newly

manufactured guns sold in America are modern semiautomatic rifles, Bloomberg, Why

Gunmakers Would Rather Sell AR-15s Than Handguns, FORTUNE (June 20, 2018), available at

https://bit.ly/3R2kZ3s, and an estimated 5.4 million Americans purchased firearms for the first

time in 2021. The Firearms Industry Trade Ass’n, NSSF Retailer Surveys Indicate 5.4 million

First-Time Gun Buyers in 2021, (Jan. 25, 2022), available at https://bit.ly/3dV6RKI. In fact, a

recent survey of gun owners estimated that 24.6 million Americans have owned AR-15 or similar

rifles. See William English, 2021 National Firearms Survey: Updated Analysis Including Types

of Firearms Owned at 1 (May 13, 2022), available at https://bit.ly/3yPfoHw .

         AR-style rifles are commonly and overwhelmingly possessed by law-abiding citizens for

lawful purposes. In a 2021 survey of 16,708 gun owners, recreational target shooting was the

most common reason (cited by 66% of owners) for possessing an AR-style firearm, followed

closely by home defense (61.9% of owners) and hunting (50.5% of owners). English, supra, at

33-34. This is consistent with the findings of an earlier 2013 survey of 21,942 confirmed owners

of such firearms, in which home-defense again followed (closely) only recreational target

shooting as the most important reason for owning these firearms. See also Friedman v. City of

Highland Park, 68 F. Supp. 3d 895, 904 (N.D. Ill. 2014), aff’d 784 F.3d 406 (7th Cir. 2015). “An

additional survey estimated that approximately 11,977,000 people participated in target shooting

with a modern sporting rifle.” Id. Indeed the “AR-15 type rifle . . . is the leading type of firearm

used in national matches and in other matches sponsored by the congressionally established

Civilian Marksmanship program.” Shew v. Malloy, 994 F. Supp. 2d 234, 245 n.40 (D. Conn.

2014).




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       The fact that “assault” rifles are used extremely rarely in crime underscores that AR-15s

and other Banned Firearms are commonly possessed by law-abiding citizens for lawful purposes.

Evidence indicates that “well under 1% [of crime guns] are ‘assault rifles.’”

Gary Kleck, TARGETING GUNS: FIREARMS AND THEIR CONTROL 112 (1997). This conclusion is

borne out by FBI statistics. In the five years from 2015 to 2019 (inclusive), there were an average

of 14,556 murders per year in the United States. On average, rifles of all types (of which so-

called “assault weapons” are a subset) were identified as the murder weapon in 315 murders per

year. U.S. Dept. of Just., Expanded Homicide Data Table 8: Murder Victims by Weapon, 2015-

2019, Crime in the United States, 2019, FBI, available at https://bit.ly/31WmQ1V. By way of

comparison, on average 669 people are murdered by “personal weapons” such as hands, fists and

feet. Id. According to the FBI, a murder victim is more than twice as likely to have been killed

by hands and feet than by a rifle of any type.

       Even in the counterfactual event that a modern semiautomatic rifle had been involved in

each rifle-related murder from 2015 to 2019, an infinitesimal percentage of the approximately 24

million modern sporting rifles in circulation in the United States during that time period –around

.001 percent – would have been used for that unlawful purpose. More broadly, as of 2016, only

0.8 percent of state and federal prisoners reported using any kind of rifle during the offense for

which they were serving time. Mariel Alper & Lauren Glaze, Source and Uses of Firearms

Involved in Crimes: Survey of Prison Inmates, 2016, U.S. DEPT OF JUST., OFF. OF JUST.

PROGS., BUREAU OF JUST. STATS. 5 tbl. 3 (Jan. 2019), available at https://bit.ly/31VjRa9

       Finally, the Supreme Court’s decision in Caetano further confirms that the arms banned

by the City are in common use. That case concerned Massachusetts’s ban on the possession of

stun guns, which that state’s highest court had upheld on the ground that such weapons are not


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protected by the Second Amendment. Id., 577 U.S. at 411. In a brief per curiam opinion, the

Supreme Court vacated that decision. Id. at 411-12. Though the Court remanded the case back to

the state court without deciding whether stun guns are constitutionally protected, Justice Alito

filed a concurring opinion expressly concluding that those arms “are widely owned and accepted

as a legitimate means of self-defense across the country,” based on evidence that “hundreds of

thousands of Tasers and stun guns have been sold to private citizens.” Id. at 420 (Alito, J.,

concurring) (cleaned up) (citation omitted). If hundreds of thousands” of arms constitute wide

ownership, a fortiori so does the tens of millions of semiautomatic rifles sold to private citizens

nationwide.

          The Massachusetts court got the message. In a subsequent case, that court, relying on

Caetano, held that because “stun guns are ‘arms’ within the protection of the Second

Amendment,” the state’s law barring “civilians from possessing or carrying stun guns, even in

their home, is inconsistent with the Second Amendment and therefore unconstitutional.” Ramirez

v. Commonwealth, 94 N.E.3d 809, 815 (Mass. 2018). The Illinois Supreme Court followed suit

with a similar ruling in 2019, relying on Caetano and Ramirez to conclude that “[a]ny attempt by

the State to rebut the prima facie presumption of Second Amendment protection afforded stun

guns and tasers on the grounds that the weapons are uncommon or not typically possessed by

law-abiding citizens for lawful purposes would be futile.” People v. Webb, 131 N.E. 3d 93, 96

(Ill. 2019). This reasoning is sound, and it necessarily entails the invalidity of the City’s blanket

ban, which restricts arms that are many times more common than stun guns.

III.      The City’s Prohibition on Possession of Banned Magazines is Unconstitutional

          A.      Magazines Capable of Holding More Than 10 Rounds Are in Common Use




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       Magazines are indisputably “arms” protected by the Second Amendment, as the right to

keep and bear arms necessarily includes the right to keep and bear components such as

ammunition and magazines that are necessary for the firearm to operate. See United States v.

Miller, 307 U.S. 174, 180 (1939) (citing seventeenth-century commentary recognizing that “[t]he

possession of arms also implied the possession of ammunition”); Jackson v. City & Cnty. of San

Francisco, 746 F.3d 953, 967 (9th Cir. 2014) (without bullets, the right to bear arms would be

meaningless).

       Just as the First and Fourteenth Amendments protect modern forms of communications

and search, “the Second Amendment extends, prima facie, to all instruments that constitute

bearable arms, even those that were not in existence at the time of the founding.” Heller, 554

U.S. at 582; Caetano, supra (stun guns). Thus, as the Supreme Court reiterated in Bruen, when

assessing whether arms are protected by the Second Amendment, the question is whether they

are “in common use today.” 142 S.Ct. at 2134. If they are, then they are presumptively protected

by the Second Amendment, and it is the government’s burden to prove that any efforts to restrict

their possession or use have a “well- established and representative historical analogue.” Bruen,

142 S.Ct. at 2133. But, as noted above, in the context of a blanket prohibition such as that at

issue here with respect to the Banned Magazines, establishing such an analogue is impossible.

The City may impose a blanket prohibition only on “dangerous and unusual” arms, but by

definition, an arm in common use is not unusual. The Second Amendment “[does] not

countenance a complete prohibition on the use of the most popular weapon chosen by Americans

for self-defense in the home.” Id., 142 S. Ct. at 2128 (internal quotation marks omitted).

       The magazines the City has banned unquestionably satisfy the “common use” test. See

Duncan III, 366 F.Supp.3d at 1143-45; Duncan IV, 970 F.3d at 1142, 1146-47. Magazines


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capable of holding more than 10 rounds of ammunition are commonly owned by millions and

millions of Americans for all manner of lawful purposes, including self-defense, sporting, and

hunting.7 They come standard with many of the most popular handguns and long guns on the

market, and Americans own roughly 115 million of them, Duncan IV, 970 F.3d at 1142,

accounting for “approximately half of all privately owned magazines in the United States,”

Duncan v. Bonta (“Duncan V”), 19 F.4th 1087, 1097 (9th Cir. 2021), cert. granted, judgment

vacated, 142 S. Ct. 2895 (2022). Indeed, the most popular handgun in America, the Glock 17

pistol, comes standard with a 17-round magazine. See Duncan III, 366 F.Supp.3d at 1145. In

short, there can be no serious dispute that magazines capable of holding more than 10 rounds are

bearable arms that satisfy the common use test and thus are presumptively protected by the

Second Amendment.

        In his dissent in Kolbe v. Hogan, Judge Traxler also addressed magazines such as the

Banned Magazines. He stated:

        “The record also shows unequivocally that magazines with a capacity of greater
        than 10 rounds are commonly kept by American citizens, as there are more than 75
        million such magazines owned by them in the United States. These magazines are
        so common that they are standard on many firearms: On a nationwide basis most
        pistols are manufactured with magazines holding ten to 17 rounds. Even more than
        20 years ago, fully 18 percent of all firearms owned by civilians were equipped
        with magazines holding more than ten rounds.”

Id., 849 F.3d at 154, Traxler, J. dissenting (internal citations and quotation marks omitted).

        Magazines such as those banned by the City are without the slightest question commonly

possessed by law abiding citizens for lawful purposes (again, the dispositive fact under Heller

and Bruen). Therefore, based on this fact alone, the Code is unconstitutional.

        B.        There Is No Historical Tradition of Restricting Firearms Capable of Firing
                  More Than 10 Rounds Without Reloading.

7
 See Declaration of James Curcuruto ¶ 7 (“At least 150 million magazines with a capacity greater than ten rounds
are owned by law-abiding American citizens, who use those magazines for lawful purposes.”)
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       Even if magazines such as those banned by the City were not in common use, the City

cannot come close to proving that restrictions on firing or magazine capacity are part of the

nation’s historical tradition. To the contrary, history and tradition establish the exact opposite.

See Duncan III, 366 F.Supp.3d at 1149-53; Duncan IV, 970 F.3d at 1147-51 (when the Founders

ratified the Second Amendment, no laws restricted ammunition capacity despite multi-shot

firearms having been in existence for some 200 years); Duncan V, 19 F.4th at 1148-59 (Bumatay,

J., dissenting) (summarizing history)

       Firearms capable of firing more than 10 rounds without reloading are nothing new. “[T]he

first firearm that could fire more than ten rounds without reloading was invented around 1580,”

and several such handguns and long guns “pre-date[d] the American Revolution.” Duncan IV,

970 F.3d at 1147. Well before the framing of the Fourteenth Amendment, they had become

“common,” as witnessed by popular firearms such as the Pepperbox-style pistol, which could

“shoot 18 or 24 shots before reloading individual cylinders.” Id. By the end of the Civil War,

“repeating, cartridge-fed firearms” were ubiquitous, and many of the most popular models had

magazines that held more than 10 rounds. Id. at 1148. For example, the Winchester 66 had a 17-

round magazine and could fire all 17 rounds plus the one in the chamber in under nine seconds.

Id. Later models, including the famed Winchester 73 (“the gun that won the West”), likewise had

magazines that held more than 10 rounds and sold a combined “over 1.7 million total copies”

between 1873 and 1941. Id.

       As detachable box-style magazines became more popular around the turn of the twentieth

century, so too did rifles and handguns with box magazines capable of holding more than 10

rounds, such as Auto Ordnance Company’s semi-automatic rifle (1927, 30 rounds) and the

Browning Hi-Power pistol (1935, 13 rounds). Id. In 1963, the U.S. government sold hundreds of

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thousands of surplus 15- and 30-round M-1 carbines to civilians at a steep discount. Id. That same

year, the first AR-15 rifle was released. Id. The AR-15 comes standard with a 30-round magazine

and as noted above, remains the most popular rifle in America today. Id.; Duncan III, 366

F.Supp.3d 1145. Today, the most popular handgun in America is the Glock 17, which comes

standard with a 17-round magazine. Duncan IV, 970 F.3d at 1142, 1148. Many other popular

pistols likewise come standard with magazines that hold more than 10 rounds. For example, the

Beretta Model 92 comes standard with a sixteen-round magazine, Smith & Wesson M&P 9 M2.0

nine-millimeter magazines contain seventeen rounds, and the Ruger SR9 has a 17-round standard

magazine. Id. at 1142 & n.4.

       Firearms capable of firing more than 10 rounds predate the founding by more than a

century. See Duncan IV, 970 F.3d at 1147. Such arms were neither novelties nor confined to the

military; to the contrary, they were marketed to and bought by civilians from the start. “[I]n 1821,

the New York Evening Post described the invention of a new repeater as ‘importan[t], both for

public and private use,’ whose ‘number of charges may be extended to fifteen or even twenty.’”

Ass ‘n of N J. Rifle & Pistol Clubs, Inc. v. Att’y Gen. of N J. (“ANJRPC II”), 974 F.3d 237, 255

(3d Cir. 2020) (Matey, dissenting). The popular Pepperbox-style pistol was marketed to civilians,

the Girandoni air rifle “was famously carried on the Lewis and Clark expedition,” and millions

of Winchesters were sold to civilians in the decades following the ratification of the Fourteenth

Amendment. Duncan IV, 970 F.3d at 1147-48; Duncan V, 19 F.4th at 1154-55 (Bumatay, J.,

dissenting). And the federal government itself sold hundreds of thousands of surplus 15- and 30-

round M-1 carbines to civilians at a steep discount just as the AR-15 and its standard 30-round

magazine came on the market. Duncan IV, 970 F.3d at 1148.




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       The historical record confirms that, “[l]ong before 1979, magazines of more than ten

rounds had been well established in the mainstream of American gun ownership.” David B.

Kopel, The History of Firearm Magazines and Magazine Prohibitions, 78 Alb. L. Rev. 849, 862

(2015). In short, arms that could fire more than 10 rounds without reloading would by no means

have been “unforeseen inventions to the Founders.” Duncan IV, 970 F.3d at 1147. They have

been available for centuries, and “magazines of more than ten rounds had been well established

in the mainstream of American gun ownership” “long before” a handful of capacity restrictions

started to pop in the late twentieth century. See Kopel, supra at 862-64.

       There were no restrictions on firing or magazine capacity when either the Second or the

Fourteenth Amendment was ratified. The first such laws did not come until the Prohibition Era,

and, even then, they were few and far between. Many states and the federal government began

regulating automatic weapons almost as soon as they came on the market in the 1920s and 1930s.

In contrast, only during Prohibition did a handful of state legislatures enact capacity restrictions,

many of which were soon repealed. Duncan IV, 970 F.3d at 1150. These states included

Michigan (1927, repealed in 1959), Rhode Island (1927, repealed in 1975), and Ohio (1933,

repealed in 2014). Id. at n.10. It is important to note that the Rhode Island and Michigan statutes

applied only to weapons rather than magazines, and the Ohio statute was interpreted to only

forbid the simultaneous purchase of a firearm and compatible 18-round magazine. Id.

       These anomalous laws not only were “short lived,” Bruen, 142 S.Ct. at 2155, but emerged

several decades after the isolated “late-19th-century” territorial laws that the Supreme Court

found to be too few and too late to have meaningful historical relevance. Id. at 2154; cf Heller II,

670 F.3d at 1292 (Kavanaugh, J., dissenting) (six states not enough to make a “strong showing

that such laws are common”). Here too, then, “the bare existence of these localized restrictions


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cannot overcome the overwhelming evidence of an otherwise enduring American tradition

permitting law-abiding citizens to keep and bear arms with a firing capacity of more than 10

rounds.

          The first state to restrict magazine capacity as such (New Jersey) did not do so until 1990

– more than two centuries after the founding. As with “assault weapon” bans, that is far too late

to demonstrate anything about the original meaning of the Second or Fourteenth Amendment.

The federal government did not restrict magazine capacity until 1994, and Congress allowed that

law to expire in 2004. Since 1990, when the first magazine capacity restriction was adopted, a

total of 12 states have enacted such restrictions, with half of those restrictions enacted within the

last decade.8 The City thus cannot even identify a “well-established” tradition of restricting

magazine capacity today, let alone identify any representative historical analogue that might

justify its confiscatory magazine ban. Bruen, 142 S.Ct. at 2133 (emphasis omitted).

          Yet, despite a long historical tradition of law-abiding citizens possessing these firearms

for lawful purposes, there is no similar tradition of government regulation, let alone confiscation.

To the contrary, the historical tradition of advancement in firearms technology reflects a steady

trend toward increasing the firing capacity of the most popular and common arms, with no

corresponding trend of government restrictions on firing capacity. The City thus cannot possibly

meet its burden of “affirmatively prov[ing] that its [magazine ban] is part of the historical

tradition that delimits the outer bounds of the right to keep and bear arms.” Bruen, 142 S.Ct. at

2127.



8
 The Codes and the year they were enacted are: N.J. Stat. Ann. §2C:39- l(y), - 3G) (1990); 1992 Haw. Sess. Laws
740, 742 (1992); Md. Code Ann., Crim. Law §4-305 (1994); Cal. Penal Code §§32310, 16740 (1999); Mass. Gen.
Laws ch. 140 §§121, 131a (1998); N.Y. Penal Law §265.36 (2000); Colo. Rev. Stat. §18-12-302(1)) (2013); Conn.
Gen. Stat. §53- 202w (2013); Vt. Stat. Ann. tit. 13, §4021 (2017); Wash. Rev. Code Ann. §§9.41.010, .370 (2022);
11 R.I. Gen. Laws Ann. § 11-47.1-3 (2022); Del. Code Ann. tit. 11, § 1469 (2022).
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Respectfully submitted this 7th day of October 2022

/s/ Jason R. Craddock
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                               CERTIFICATE OF SERVICE

       The undersigned certifies that on October 7, 2022 he emailed a copy of the foregoing to
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